      Case 2:14-cr-00152-SMJ       ECF No. 227    filed 06/11/15   PageID.1289 Page 1 of 1




 1
 2
 3
 4
                             UNITED STATES DISTRICT COURT
 5
                           EASTERN DISTRICT OF WASHINGTON
 6
 7
     UNITED STATES OF AMERICA,                        No. 2:14-CR-152-SMJ-2
 8
 9                        Plaintiff,                  ORDER GRANTING
                                                      DEFENDANT’S UNOPPOSED
10 vs.                                                MOTION TO TEMPORARILY
11                                                    LIFT CURFEW CONDITION
   DESTANIE TALETHIA DANIEL,                          AND GRANTING MOTION
12
                                                      TO EXPEDITE
13                        Defendant.
14          Before the Court is Defendant’s Motion to Lift the Curfew Condition for a
15   weekend, ECF No. 225, and Motion to Expedite, ECF No. 226. The Defendant
16   wishes to have her curfew lifted on Friday and Saturday, June 19-20, 2015.
17   Neither the United States, nor the U.S. Probation Office objects to this request.
18   Accordingly,
19          IT IS ORDERED that the Motion, ECF No. 225, is GRANTED.
20   Defendant shall not be subject to her court-imposed curfew on June 19-20 only.
21   She shall advise the U.S. Probation Office of her contact information on those
22   dates. The Motion to Expedite, ECF No. 226, is GRANTED.
23          All other terms and conditions of pretrial release not inconsistent herewith shall
24   remain in full force and effect.
25          DATED June 11, 2015.
26
27                                     _____________________________________
                                                 JOHN T. RODGERS
28                                      UNITED STATES MAGISTRATE JUDGE



     ORDER - 1
